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                                   PARKER HANSKI LLC
                                      40 WORTH STREET, 10TH FLOOR
                                       NEW YORK, NEW YORK 10013
                                          PHONE: 212.248.7400                                          10/20/2020
                                          FAX:   212.248.5600
                                       Contact@ParkerHanski.com

                                                                    October 20, 2020
    Via ECF
    The Honorable John Peter Cronan
    United States District Judge
    Southern District of New York


            Re:     Todd Kreisler v. 3rd and 60th Associates Sub LLC and Dylan's Candybar, LLC

                    Docket No. 1:19-cv-10316 (JPC)(KHP)

    Dear Judge Cronan:

            We represent the plaintiff in the above-entitled action. We write to respectfully ask the
    Court to extend the deadline for the parties to submit a joint status letter from October 20, 2020
    to November 3, 2020. The reason for this request is because the parties require the additional
    time in order to prepare this joint status letter. This is the first application to extend the deadline
    and defendant Dylan's Candybar, LLC consents. Plaintiff has not received a response yet as to
    the consent of defendant 3rd and 60th Associates Sub LLC. Thank you for your time and
    attention to this matter. With kindest regards, I am

                                                            very truly yours,

                                                                 /s/
                                                            Glen H. Parker, Esq.

Plaintiff's request is GRANTED. It is hereby ORDERED that the parties
shall have until November 3, 2020 to file the joint status letter. (See Dkt.
38.)

The parties are reminded that pursuant to 3.B of the Court's Individual
Rules and Practices in Civil Cases, absent compelling circumstances, any
requests for extensions of time must be made 48 hours prior to the
scheduled deadline. Any further requests shall provide specific details
regarding the reason(s) for the request.

SO ORDERD.

Date: October 20, 2020
      New York, New York
                                               ______________________
                                               JOHN P. CRONAN
                                               United States District Judge
